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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN            ENVIRONMENTAL
ENTERPRISES,  INC.,     d/b/a THE
SAFETYHOUSE.COM,

                     Plaintiff,

v.
                                                CIVIL ACTION
MANFRED STERNBERG, ESQUIRE, and
MANFRED STERNBERG & ASSOCIATES, PC, No. 2:22-CV-0688 (JMY)
and CHARLTON HOLDINGS GROUP, LLC, and
SHLOMO GROSS a/k/a SAMUEL GROSS, and
GARY WEISS, and A.SOLAR, LLC, and
DAPHNA      ZEKARIA, ESQUIRE, and
SOKOLSKI & ZEKARIA, P.C.

                     Defendants


                                         ORDER

      AND NOW, this          day of                  , 2024, upon consideration of the Motion

of Rebar Kelly for Protective Order, and any response thereto, it is hereby ORDERED and

DECREED as follows

             1.     The Motion for Protective Order is GRANTED; and:

             2.     The parties are prohibited from noticing the depositions of
                    Defendants, Daphna Zekaria, Esquire and Sokolski & Zekaria, P.C.
                    until after a decision is made on the pending Motion to Withdraw as
                    counsel and in accordance with the terms and conditions of any
                    Order issued regarding said Motion to Withdraw.

                                                 BY THE COURT



                                                 ____________________________________
                                                 Honorable John Milton Younge
